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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                           (7911)

                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA
                                                          AMENDED
        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                  V.                                      (For Revocation of Probation or Supervised Release)

        MARSHALL LANCE SHADDIX                            CASE NUMBER: 1:05-CR-00132-002
                                                          USM NUMBER: 09064-003

THE DEFENDANT:                                            Patrick D. Finnegan, Esquire
                                                          Defendant's Attorney

X      admitted guilt to violation of supervision conditions: Statutory and 2 as set forth in the
Petition dated 10/13/2015.
       was found in violation of supervision condition:
                                                                        Date violation
Violation Number                    Nature of Violation                  Occurred
Statutory                           New Offense                         08/29/2015
2                                   Technical

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

       The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.




                                                           January 19, 2015
                                                           Date of Imposition of Judgment

                                                           /s/ Callie V. S. Granade
                                                           UNITED STATES DISTRICT JUDGE


                                                           January 28, 2016
                                                           Date
     Case 1:05-cr-00132-CG-D Document 150 Filed 01/28/16 Page 2 of 2                         PageID #: 678
                                                                                                 Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment

Defendant: MARSHALL LANE SHADDIX
Case Number: 1:05-CR-00132-002

                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS.



X     The court makes the following recommendations to the Bureau of Prisons: That the
defendant be imprisoned at an institution where mental health treatment program is available.1


X        The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
                at .m. on        .
                as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau
         of Prisons:
                 before 2 p.m. on      .
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:

__________________________________________________________________________________

__________________________________________________________________________________

__________________________________________________________________________________

Defendant delivered on                          to                                     at __________________

with a certified copy of this judgment.
                                                                          UNITED STATES MARSHAL


                                                                      By _________________________________
                                                                             Deputy U.S. Marshal




1
    Recommendation to delay designation removed.
